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 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
                                                                    :
                                                                    :
 -------------------------------------------------------------------x

                      NOTICE OF ADJOURNMENT OF DEBTORS’
                     OBJECTION TO CERTAIN CLAIMS (VALUED
               DERIVATIVE CLAIMS) AS TO TIAA GLOBAL MARKETS, INC.

                  PLEASE TAKE NOTICE that the hearing on Debtors’ One Hundred Thirty-

 Second Omnibus Objection to Claims (Valued Derivative Claims) (the “Objection”), that was

 scheduled for June 2, 2011, at 10:00 a.m. (Prevailing Eastern Time), and that was previously

 adjourned as to certain Valued Derivative Claims to October 27, 2011 at 10:00 a.m. (Prevailing

 Eastern Time), has been further adjourned, solely with respect to the claims listed on

 Exhibit A annexed hereto, to November 30, 2011, at 10:00 a.m. (Prevailing Eastern Time)

 (the “Hearing”), or as soon thereafter as counsel may be heard. The Hearing will be held before

 the Honorable James M. Peck, United States Bankruptcy Court, Alexander Hamilton Custom

 House, One Bowling Green, New York, New York, Room 601, and such Hearing may be further

 adjourned from time to time without further notice other than an announcement at the Hearing.
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 Dated: October 24, 2011
        New York, New York

                                        /s/ Robert J. Lemons
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                                        Exhibit A

                                    Adjourned Claims:

                    Claimant Name                              Claim Number
  TIAA Global Markets, Inc.                                        9287




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